                          Case 5:19-cr-00311-G Document 35 Filed 09/16/20 Page 1 of 7



AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 1



                                    UNITED STATES DISTRICT COURT
                                   Western District of Oklahoma
                                                   )
           UNITED STATES OF AMERICA                )    JUDGMENT IN A CRIMINAL CASE
                      v.                           )
                                                   )
         CHRISTOPHER JOHN HENDERSON                     Case Number:         CR-19-00311-001-G
                                                   )
                                                   )    USM Number:          15756-064
                                                   )
                                                   )    William P. Earley
                                                        Defendant’s Attorney
                                                   )
THE DEFENDANT:
     pleaded guilty to count(s) 1 of the Indictment.

     pleaded nolo contendere to count(s)
     which was accepted by the court.
     was found guilty on count(s)
     after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section               Nature of Offense                                                         Offense Ended             Count
18 U.S.C. § 1591(a)(1),       Child sex trafficking                                                       12/07/2014                1
(b)(2), and (c) and 18
U.S.C. § 1594(a)



      The defendant is sentenced as provided in pages 2 through             7        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
    The defendant has been found not guilty on count(s)

    Count(s) 2 and 3 of the Indictment                                               is     are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                      September 15, 2020
                                                                      Date of Imposition of Judgment




                                                                      September 16, 2020
                                                                      Date Signed
                         Case 5:19-cr-00311-G Document 35 Filed 09/16/20 Page 2 of 7

AO 245B (Rev. 09/19) Judgment in Criminal Case
                    Sheet 2 — Imprisonment

                                                                                                 Judgment — Page          2       of   7
DEFENDANT:                    Christopher John Henderson
CASE NUMBER:                  CR-19-00311-001-G

                                                            IMPRISONMENT
        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
        240 months.


           The court makes the following recommendations to the Bureau of Prisons:

         It is recommended the defendant participate in the Federal Bureau of Prisons Inmate Financial Responsibility Program at a rate
         determined by Bureau of Prisons staff in accordance with the program.

         It is recommended that the defendant, if eligible, participate in a Sex Offender Treatment Program (SOTP) while incarcerated.

         It is recommended that the defendant, if eligible, be designated to FCI Seagoville.


          The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:
               at                                    a.m.          p.m.     on                                                .
               as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               By 2 p.m. on
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




        Defendant delivered
                                                                                          to
        on

at                                                , with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL


                                                                           By

                                                                                 DEPUTY UNITED STATES MARSHAL
                        Case 5:19-cr-00311-G Document 35 Filed 09/16/20 Page 3 of 7
                                                                                            Judgment—Page     3    of       7
AO 245B (Rev. 09/19) Judgment in a Criminal Case
                    Sheet 3 — Supervised Release

DEFENDANT:               Christopher John Henderson
CASE NUMBER:             CR-19-00311-001-G

                                                   SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
Life.


                                                   MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
     release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               The above drug testing condition is suspended, based on the court's determination that you pose a low risk
               of future substance abuse. (check if applicable)
          You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a
4.
          sentence of restitution. (check if applicable)
5.        You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
          You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
6.        seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the
          location where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.        You must participate in an approved program for domestic violence. (check if applicable)



You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on
the attached page.
                       Case 5:19-cr-00311-G Document 35 Filed 09/16/20 Page 4 of 7

AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 3A — Supervised Release
                                                                                         Judgment—          4       of         7
DEFENDANT:               Christopher John Henderson
CASE NUMBER:             CR-19-00311-001-G

                                    STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.


1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
    of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
    within a different time frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
    how and when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
    permission from the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
    living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
    change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
    the probation officer within 72 hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
    probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
    excuses you from doing so. If you do not have full-time employment you must try to find full-time employment, unless
    the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
    (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before the
    change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated circumstances,
    you must notify the probation officer within 72 hours of becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
    has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
    the permission of the probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
    anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
    person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.
12. Stricken.
13. You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy
of this judgment containing these conditions. For further information regarding these conditions, see Overview of Probation
and Supervised Release Conditions, available at: www.uscourts.gov.


Defendant's                                                                                      Date
Signature
                      Case 5:19-cr-00311-G Document 35 Filed 09/16/20 Page 5 of 7
AO 245B(Rev. 09/19) Judgment in a Criminal Case
                    Sheet 3B— Supervised Release

                                                                                              Judgment—Page      5     of      7
DEFENDANT:             Christopher John Henderson
CASE NUMBER:           CR-19-00311-001-G

                                   SPECIAL CONDITIONS OF SUPERVISION

      The defendant shall submit to a sex offender mental health assessment and a program of sex offender mental health
      treatment, as directed by the U.S. Probation Officer, until such time as the defendant is released from the program by the
      probation officer. This assessment and treatment may include a polygraph to assist in planning and case monitoring. The
      defendant may be required to contribute to the cost of services rendered (copayment) in an amount to be determined by the
      probation officer, based on the defendant’s ability to pay. Any refusal to submit to such assessment or tests as scheduled is a
      violation of the conditions of supervision.

      The defendant shall waive all rights to confidentiality regarding sex offender mental health treatment in order to allow release
      of information to the supervising probation officer and to authorize open communication between the probation officer and the
      treatment provider.

      The defendant shall not be at any residence where children under the age of 18 are residing without the prior written
      permission of the U.S. Probation Officer.

      The defendant shall not be associated with children under the age of 18 except in the presence of a responsible adult who is
      aware of the defendant’s background and current offense, and who has been approved by the U.S. Probation Officer.

      The defendant shall not view, purchase, possess, or distribute any form of pornography depicting sexually explicit conduct as
      defined in 18 U.S.C. §2256(2), unless approved for treatment purposes, or frequent any place where such material is the
      primary product for sale or entertainment is available.

      The defendant shall register pursuant to the provisions of the Sex Offender Registration and Notification Act, or any applicable
      state registration law. The defendant shall submit his person, and any property, house, residence, vehicle, papers, computer,
      other electronic communication or data storage devices or media, and effects to search at any time, with or without a warrant,
      by any law enforcement or probation officer with reasonable suspicion concerning a violation of a condition of probation or
      unlawful conduct by the person, and by any probation officer in the lawful discharge of the officer’s supervision functions.

      The defendant shall not use a computer to access any on-line computer service at any location (including employment) for the
      purpose of viewing, obtaining, or transmitting child pornography or other sexually explicit material. The defendant shall not
      access Internet chat rooms for the purpose of obtaining child pornography or enticing children under the age of 18 to engage
      in sexually explicit activity.

      The defendant shall consent to the U.S. Probation Officer conducting periodic unannounced examinations, without individual
      showing of reasonable suspicion, on any computer equipment used by the defendant. The examination may include
      assistance of other law enforcement agencies. This may include retrieval and copying of all data from the computer and any
      internal or external peripherals to ensure compliance with his/her conditions and/or removal of such equipment for the purpose
      of conducting a more thorough inspection, and allow at the direction of the probation officer, installation on the defendant’s
      computer, at the defendant’s expense per co-payment policy, any hardware or software systems to monitor the defendant’s
      computer use. The defendant shall comply with a Computer Monitoring and Acceptable Use Contract, which includes a
      requirement that the defendant use a computer compatible with available monitoring systems. The defendant shall have no
      expectation of privacy regarding computer use or information stored on the computer. The defendant shall warn any other
      significant third parties that the computer(s) may be subject to monitoring. Any attempt to circumvent monitoring and
      examination may be grounds for revocation.

      The defendant shall not possess or use a computer with access to any on-line computer service at any location (including
      place of employment) without the prior written approval of the probation officer. This includes any Internet Service provider,
      bulletin board system or any other public or private network or e-mail system. This condition is not a prohibition on the
      defendant’s use of the Internet, but a restriction to use of the Internet only on device(s) that (1) are compatible with the U.S.
      Probation Office’s monitoring technology and (2) are approved by the probation officer prior to any use, so that use of the
      device(s) can be monitored.

      The defendant shall participate in a program of mental health aftercare at the direction of the probation officer. The defendant
      shall contribute to the cost of services rendered (copayment) in an amount to be determined by the probation officer based on
      the defendant’s ability to pay.
                          Case 5:19-cr-00311-G Document 35 Filed 09/16/20 Page 6 of 7

 AO 245B (Rev. 09/19) Judgment in a Criminal Case
                      Sheet 5 — Criminal Monetary Penalties

                                                                                                    Judgment — Page       6       of     7
  DEFENDANT:                     Christopher John Henderson
  CASE NUMBER:                   CR-19-00311-001-G
                                            CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                  Assessment               Restitution            Fine                          AVAA Assessment*              JVTA Assessment**
TOTALS          $ 100.00               $                      $                             $                         $


     The determination of restitution is deferred for approximately 14 days. An Amended Judgment in a Criminal Case (AO
     245C) will be entered after such determination.


     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                              Total Loss**                      Restitution Ordered                   Priority or Percentage
J.F.




TOTALS                             $                                     $
    Restitution amount ordered pursuant to plea agreement $

    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
    before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
    Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        the interest requirement is waived for the            fine           restitution.

        the interest requirement for the           fine       restitution is modified as follows:
* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
                         Case 5:19-cr-00311-G Document 35 Filed 09/16/20 Page 7 of 7
AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet 6 — Schedule of Payments

                                                                                                   Judgment — Page      7     of        7
DEFENDANT:                Christopher John Henderson
CASE NUMBER:              CR-19-00311-001-G
                                                   SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A          Lump sum payment of $         100.00            due immediately, balance due

                 not later than                                , or

                 in accordance with           C,          D,          E, or          F below; or

B          Payment to begin immediately (may be combined with                              C,            D, or         F below); or

C          Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                         (e.g., months or years), to commence                    (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to commence                   (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                         (e.g., 30 or 60 days)

           after release from imprisonment. The court will set the payment plan based on an assessment of the defendant’s
           ability to pay at that time; or

F          Special instructions regarding the payment of criminal monetary penalties:
       If restitution is not paid immediately, the defendant shall make payments of 10% of the defendant’s quarterly earnings
       during the term of imprisonment.

       After release from confinement, if restitution is not paid immediately, the defendant shall make payments of the greater of
       $______ per month or 10% of defendant’s gross monthly income, as directed by the probation officer. Payments are to
       commence not later than 30 days after release from confinement.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be paid through the United States Court Clerk for
the Western District of Oklahoma, 200 N.W. 4th Street, Room 1210, Oklahoma City, Oklahoma 73102.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
      Joint and Several

                   Case Number                        Total Amount                   Joint and Several               Corresponding Payee,
        Defendant and Co-Defendant Names                                                  Amount                         if appropriate
           (including defendant number)




      The defendant shall pay the cost of prosecution.
      The defendant shall pay the following court cost(s):
      The defendant shall forfeit the defendant’s interest in the following property to the United States:
      All right, title, and interest in the assets listed in the Preliminary Order of Forfeiture dated ______ (doc. no. ___).

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA
assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs,
including cost of prosecution and court costs.
